January 24, 2022

VIA EFILE
Hon. J.P. Stadtmueller
U.S. District Judge
United States Courthouse Room 471
517 East Wisconsin Avenue
Milwaukee, WI 53202


 Re:    Jacob Blake v. Office Rusten T. Sheskey
        Case No. 21-cv-00381


Dear Judge Stadtmueller:

My firm represents Kenosha County District Attorney Michael Graveley. In the Court’s January 12,
2022 order, the Court required all of the Movants’ to submit a short letter explaining whether the
Wisconsin Department of Justice – Division of Criminal Investigations (WDOJ DCI) provided
additional secondary investigation materials to DA Graveley and/or the Kenosha Police Department.

The materials the Court attached as Exhibit A to its January 12th order were exhaustive of all
materials received by DA Graveley at the time the motion to quash was filed. These were also all of
the materials DA Graveley received that were within the 20-6420 WDOJ DCI investigative file.

It is DA Graveley’s understanding that the WDOJ DCI opened a separate investigative file for the
secondary investigation. DA Graveley has received materials from this separate investigative file.
DA Graveley received these materials after Plaintiff’s subpoena was received and after the motion
to quash was filed.


Sincerely,
AHMAD & GUERARD, LLP


Electronically signed by Jeffrey J. Guerard
Jeffrey J. Guerard
Attorney at Law
JJG/jjg
